                                                                                           DISTRICT OF OREGON
                                                                                               FILED
                                                                                               July 16, 2019
                                                                                       Clerk, U.S. Bankruptcy Court



  Below is an order of the court.




                                                                              _____________________________
                                                                                     TRISH M. BROWN
                                                                                   U.S. Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF OREGON

In re                                                       Case No. 19-30223-tmb11

Western Communications, Inc.,                               ORDER AUTHORIZING SALE OF
                                                            DEBTOR'S ASSETS FREE AND
                              Debtor.                       CLEAR OF LIENS, CLAIMS,
                                                            ENCUMBRANCES, AND OTHER
                                                            INTERESTS (RHODE ISLAND
                                                            SUBURBAN NEWSPAPERS, INC.)

               THIS MATTER came before the Court on Debtor's Motion for Authority to Sell

Property Free and Clear of Liens and Interests Pursuant to 11 U.S.C. § 363(f) (the "Motion")

[ECF No. 168]. Timely and adequate notice of the Motion was given, no objection was filed, no

further notice is required, and the Court is fully advised in the premises. Now, therefore,

               IT IS HEREBY ORDERED that:

               1.      The Motion is granted.

               2.      Debtor is authorized to sell to Rhode Island Suburban Newspapers, Inc.

(“RISN”) all assets being used or held by Debtor in the operation of Debtor's newspaper business

located in Sonora, California (the “Sale Assets”) pursuant to the terms of the Asset Purchase
Page 1 of 4 - ORDER AUTHORIZING SALE OF DEBTOR'S ASSETS FREE AND CLEAR OF LIENS,
               CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS (RHODE ISLAND
               SUBURBAN NEWSPAPERS, INC.)
                                              Tonkon Torp LLP
                                          888 SW Fifth Ave., Suite 1600
                                               Portland, OR 97204
                                                 503.221.1440
                     Case 19-30223-tmb11              Doc 198             Filed 07/16/19
Agreement between Debtor and RISN, a copy of which was filed herein on June 26, 2019, at

ECF No. 176 (the "APA"). The sale pursuant to the APA is approved under Sections 105, 363

and 365 of the Bankruptcy Code.

               3.      The sale of personally identifiable information shall be subject to and

consistent with Debtor's privacy policy and RISN shall comply fully with all such privacy

policies.

               4.      The sale to RISN shall be free and clear of all “liens” (including, without

limitation, “judicial liens”), “claims” (as such terms are defined by Section 101 of the Bankruptcy

Code), encumbrances, and interests of any kind or nature whatsoever (collectively, the

“Interests”), with any and all Interests attaching to the sale proceeds.

               5.      Except as set forth in paragraph 3 of this Order, RISN shall have no

liability or responsibility for any liability or other obligation of Debtor other than as expressly set

forth in the APA, and RISN will have no successor liability. Accordingly, to the fullest extent

allowable under the Bankruptcy Code and applicable nonbankruptcy law, all “persons” and

“entities” (as such terms are defined by Section 101 of the Bankruptcy Code) having Interests in

the Sale Assets shall be forever barred, estopped, and permanently enjoined from pursuing or

asserting such Interests against the Sale Assets, RISN, or any of its assets, property, successors,

or assigns.

               6.      The sale proceeds will be distributed as follows:

                       a.      to the payment of all unpaid wages, salaries, compensation, and, to

the extent not assumed by RISN, all accrued and unpaid vacation and personal days for all

employees whose employment is terminated prior to closing of the sale transaction authorized by

this Order;
Page 2 of 4 - ORDER AUTHORIZING SALE OF DEBTOR'S ASSETS FREE AND CLEAR OF LIENS,
                CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS (RHODE ISLAND
                SUBURBAN NEWSPAPERS, INC.)
                                                Tonkon Torp LLP
                                            888 SW Fifth Ave., Suite 1600
                                                 Portland, OR 97204
                                                   503.221.1440
                      Case 19-30223-tmb11               Doc 198             Filed 07/16/19
                       b.       $40,000 to Dirks, Van Essen, Murray & April consistent with the

terms of the Order Authorizing Employment entered on February 28, 2019 [ECF No. 87];

                       c.       all closing costs payable by Debtor under the APA, and any other

closing costs to the extent such costs are usual and customary for a transaction of the kind

authorized by this Order; and

                       d.       all remaining proceeds to Sandton Credit Solution Master Fund III,

LP ("Sandton").

               7.      The foregoing distribution to Sandton is without prejudice to the right of

Debtor to recover from the proceeds of Sandton's collateral the reasonable, necessary costs and

expenses of preserving, or disposing of, such property pursuant to Section 506(c) of the

Bankruptcy Code, and such rights are preserved.

               8.      All objections to the relief granted herein that were not timely filed are

hereby forever barred. All stays, including, without limitation, those arising under Bankruptcy

Rule 6004, are inapplicable and this Order shall go into effect immediately upon its entry.

               9.      Debtor is authorized to execute and deliver all instruments, documents,

and other agreements required under the APA and those that are reasonably necessary to

implement the APA and effect the transaction authorized by this Order.

                                                   ###




Page 3 of 4 - ORDER AUTHORIZING SALE OF DEBTOR'S ASSETS FREE AND CLEAR OF LIENS,
               CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS (RHODE ISLAND
               SUBURBAN NEWSPAPERS, INC.)
                                               Tonkon Torp LLP
                                           888 SW Fifth Ave., Suite 1600
                                                Portland, OR 97204
                                                  503.221.1440
                     Case 19-30223-tmb11               Doc 198             Filed 07/16/19
I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

TONKON TORP LLP



By /s/ Albert N. Kennedy
   Albert N. Kennedy, OSB No. 821429
   Michael W. Fletcher, OSB No. 010448
   888 S.W. Fifth Avenue, Suite 1600
   Portland, OR 97204-2099
   Telephone: 503-221-1440
   Facsimile: 503-274-8779
   E-mail:       al.kennedy@tonkon.com
                 michael.fletcher@tonkon.com
   Attorneys for Debtor

cc:      List of Interested Parties

037840/00005/10174630v1




Page 4 of 4 - ORDER AUTHORIZING SALE OF DEBTOR'S ASSETS FREE AND CLEAR OF LIENS,
                   CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS (RHODE ISLAND
                   SUBURBAN NEWSPAPERS, INC.)
                                             Tonkon Torp LLP
                                         888 SW Fifth Ave., Suite 1600
                                              Portland, OR 97204
                                                503.221.1440
                          Case 19-30223-tmb11        Doc 198             Filed 07/16/19
                                       LIST OF INTERESTED PARTIES

                                        In re Western Communications, Inc.
                                 U.S. Bankruptcy Court Case No. 19-30223-tmb11

                                              ECF PARTICIPANTS
   JONAS V ANDERSON jonas.v.anderson@usdoj.gov
   MICHAEL W FLETCHER michael.fletcher@tonkon.com, leslie.hurd@tonkon.com;spencer.fisher@tonkon.com
   SARAH FLYNN sarah.flynn@usdoj.gov
   ALBERT N KENNEDY al.kennedy@tonkon.com, leslie.hurd@tonkon.com;spencer.fisher@tonkon.com
   KATHYRN PERKINS kathryn.e.perkins@usdoj.gov
   CRAIG G RUSSILLO crussillo@schwabe.com
   BRAD T SUMMERS summerst@lanepowell.com, docketing-pdx@lanepowell.com
   US TRUSTEE, PORTLAND USTPRegion18.PL.ECF@usdoj.gov

                                          NON-ECF PARTICIPANTS
TOP 20 UNSECURED CREDITORS              Karnopp Petersen LLP                      PROPERTY TAXES
                                        350 SW Bond St., #400
Advantage Newspaper Consultants         Bend, OR 97702                            Baker County Tax Collector
501-B Executive Place                                                             1995 3rd St., #140
Fayetteville, NC 28305                  Newscycle Solutions Inc.                  Baker City, OR 97814
                                        POB 851306
Bank of America                         Minneapolis, MN 55485-1306                Curry County Tax Collector
800 Fifth Ave.                                                                    POB 1568
Seattle, WA 98104                       Oregon Web Press Inc.                     Medford, OR 97501
                                        263 29th Ave., SW
Carter & Associates                     Albany, OR 97322                          Del Norte County Tax Collector
POB 21444                                                                         981 H St., #150
El Cajon, CA 92021                      Pacific Power Inc                         Crescent City, CA 95531
                                        POB 26000
Century Washington Center Inc           Portland, OR 97256                        Deschutes County Tax Collector
POB 700                                                                           POB 7559
Bend, OR 97709                          Page Cooperative Inc.                     1300 NW Wall St., #200
                                        700 American Ave., #101                   Bend, OR 97701
Davis Wright Tremaine LLP               King of Prussia, PA 19406
c/o Joseph VanLeuven                                                              Tuolumne County Tax Collector
1300 SW Fifth Ave., #2400               Sacramento Bee                            POB 3248
Portland, OR 97201                      c/o Paul J. Pascuzzi                      Sonora, CA 95370-3248
                                        Felderstein Fitzgerald
Eastman Kodak Company Inc.               Willoughby & Pascuzzi LLP                Union County Assessor/Tax Collector
343 State St.                           400 Capitol Mall, #1750                   1001 4th St., Suites A & B
Rochester, NY 14650                     Sacramento, CA 95814                      La Grande, OR 97850
First Interstate Bank                   Southern Lithoplate Inc.                  Yazoo County Tax Collector
805 NW Bond St.                         POB 741887                                POB 108
Bend, OR 97703                          Atlanta, GA 30374                         Yazoo City, MS 39194

Grove Mueller Swank PC                  Sun Chemical Inc                          OTHER
POB 2122                                POB 2193
Salem, OR 97308-2122                    Carol Stream, IL 60132-2193               Andrews McMeel Universal
                                                                                  Andrews McMeelsynd/
Harrigan Price Fronk & Co. LLP          United Way of Deschutes County             Universal Uclick
2796 NW Clearwater Dr.                  POB 5969                                  POB 843345
Bend, OR 97703-7008                     Bend, OR 97708                            Kansas City, MO 64184-3345
Homeland Fireworks Inc                  UCC PARTIES
POB 7
Jamieson, OR 97097                      Hitachi Capital America Corp.
                                        7808 Creekridge Circle, #250
Journal Graphics Inc                    Edina, MN 55439
2840 NW 35th Ave.
Portland, OR 97210                      Imaging Financial Services, Inc.
                                        POB 35701
                                        Billings, MT 59107



                             Case 19-30223-tmb11           Doc 198         Filed 07/16/19
